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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS



 ANALOG DEVICES, INC. and HITTITE
 MICROWAVE LLC,
                                                       Civil Action No.: 1:18-cv-11028-GAO
                Plaintiffs,
                                                       FILED UNDER SEAL
                        v.
                                                       ORAL ARGUMENT REQUESTED
 MACOM TECHNOLOGY SOLUTIONS
 HOLDINGS, INC. and MACOM
 TECHNOLOGY SOLUTIONS INC.,

                Defendants.




              ANALOG’S MOTION FOR EXPEDITED DISCOVERY AND
              AN EXPEDITED BRIEFING SCHEDULE ON THIS MOTION

       Pursuant to Fed. R. Civ. P. 26(d), Plaintiffs Analog Devices, Inc. and Hittite Microwave

LLC (collectively, “Analog”) respectfully move the Court for an order requiring expedited

responses from Defendants MACOM Technology Solutions Holdings, Inc. and MACOM

Technology Solutions Inc. (collectively, “MACOM”) to the attached two sets of discovery

requests, to permit Analog to supplement its Motion for Preliminary Injunction filed concurrently

herewith. Because Analog seeks expedited responses to its discovery requests, Analog also

requests here that the Court enter an expedited briefing schedule so that MACOM’s opposition to

this motion would be due no later than July 6, 2018.

       The Court has set an Initial Scheduling Conference on August 6, 2018. Analog expects

that at that hearing, the parties will address the scheduling and procedures to resolve its Motion

for Preliminary Injunction.



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       To permit Analog to have a better picture of what MACOM did with Analog’s trade secrets,

and the stage of ongoing infringement and/or misappropriation in MACOM’s new product

development (facts uniquely known to MACOM as of now), and as permitted by the Federal Rules,

Analog today served the attached First Request for Production of Documents on MACOM. Absent

court order, however, those requests are not deemed served until the Rule 26(f) conference, which

will not occur until mid-July, with responses to those requests due 30-days thereafter. Analog

requests an order requiring expedited responses to those document requests – which are narrowly

tailored to issues in its Motion for Preliminary Injunction – so that the parties will be in a better

position to discuss with the Court at the August 6, 2018 Initial Scheduling Conference what further

discovery might be necessary for resolution of Analog’s Motion for Preliminary Injunction, and a

schedule for supplemental briefing and hearing of that motion.

       Analog also seeks leave to serve the similarly limited set of First Interrogatories attached

hereto, and asks for an order requiring MACOM to respond at the same time as MACOM responds

to the document requests.

       As set forth more fully in Analog’s Motion for Preliminary Injunction and the

memorandum of law filed in support thereof, MACOM’s MAAP-011247 amplifier infringes

Analog’s U.S. Patent No. 9,425,752, and appears to have been designed and marketed by MACOM

based on Analog technical and business trade secrets – secrets brought to MACOM by defecting

Analog employees. Expedited and narrowly-targeted discovery is warranted prior to full briefing

or a decision on Analog’s Motion for Preliminary Injunction, because the evidence is uniquely in

MACOM’s possession, and it will likely be highly relevant to the scope of injunctive relief

necessary at this stage of the case.




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       This Court has broad discretion to order expedited discovery. See Fed. R. Civ. P. 26(d)(1)

(permitting court to allow discovery before the time specified under the rules); Fed. R. Civ. P.

33(b)(2) and 34(b)(2) (authorizing the Court to shorten the time within which a party must respond

to interrogatories and requests for production of documents).

       The narrowly-tailored discovery requests Analog seeks expedited treatment of are attached

hereto as Exhibits A (document requests) and B (interrogatories). Analog asks that the Court order

the following deadlines for that discovery:

                   ACTIVITY                                PROPOSED DEADLINE(S)
 MACOM’s Objections and Written                     Two weeks from service of the discovery,
 Responses to Analog’s Expedited Discovery          on or before July 13, 2018
 Requests
 Production of Documents by MACOM in                Four weeks from service of the discovery,
 Response to Expedited Discovery Requests           on or before July 27, 2018

       At the August 6, 2018 Scheduling Conference, with Defendants’ responses to this

discovery in-hand, the parties will better be able to address what additional discovery is needed

(e.g., a 30(b)(6) deposition of MACOM, and/or 30(b)(1) depositions of the departed Analog

employees now working for MACOM), as well as a schedule for supplemental briefing and

argument of Analog’s Motion for Preliminary Injunction.

       WHEREFORE, Analog respectfully requests that the Court grant its Motion for

Expedited Discovery as sought herein.



                            REQUEST FOR ORAL ARGUMENT

       Analog seeks oral argument on the present motion.




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Dated: June 29, 2018               Respectfully submitted,

                                   ANALOG DEVICES, INC. and
                                   HITTITE MICROWAVE LLC

                                   By their attorneys,


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                            CERTIFICATE OF CONFERENCE

       Pursuant to Local Rules 7.1(a)(2) and 37.1(a), I hereby certify that Analog’s counsel met

and conferred in good faith with counsel for Defendants MACOM Technology Solutions

Holdings, Inc. and MACOM Technology Solutions Inc. to resolve or narrow the issues presented

in this motion.


                                                   /s/ Steven M. Bauer
                                                   Steven M. Bauer




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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent electronically

to the registered participants as identified on the Notice of Electronic Filing on June 29, 2018.


                                                   /s/ Steven M. Bauer
                                                   Steven M. Bauer
